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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                           CASE NUMBER:

  INNOVATIVE SPORTS MANAGEMENT, INC.
                                                              2:19−cv−08726−TJH−PLA
                                       PLAINTIFF(S)

                            v.

  CLAUDIA A PORTOCARRERO, et al.

                                                                          DEFAULT BY CLERK
                                                                            F.R.Civ.P. 55(a)
                                    DEFENDANT(S).




       It appearing from the records in the above−entitled action that summons has been served upon the
  defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
  evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
  defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

       Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
  hereby entered:



   Claudia A Portocarrero individually doing business as Picante Peruvian Cuisine

   Luis Alejandro Tipacti individually doing business as Picante Peruvian Cuisine




                                                         Clerk, U.S. District Court

    July 29, 2022                                        By /s/ Sharon Hall−Brown
  Date                                                   Deputy Clerk

  CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
